Case 3:20-cv-00655-TAD-KDM Document 35 Filed 05/05/21 Page 1 of 1 PageID #: 327




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 CHARLES E. JONES                                      CIVIL ACTION NO. 20-0655

                                                       SECTION P
 VS.
                                                       JUDGE TERRY A. DOUGHTY

 AUSTIN BLACKMAN, ET AL.                               MAG. JUDGE KAYLA D. MCCLUSKY


                                          JUDGMENT

        The Report and Recommendation of the Magistrate Judge [Doc. No. 33] having been

 considered, together with the written Objection [Doc. No. 34] filed by Defendants on May 4,

 2021, and, after a de novo review of the record, finding that the Magistrate Judge’s Report and

 Recommendation is correct and that judgment as recommended therein is warranted,

        IT IS ORDERED, ADJUDGED, AND DECREED that that Defendants’ Motion for

 Summary Judgment, [Doc. No. 24], is DENIED.

        MONROE, LOUISIANA, this 5th day of May, 2021.



                                                   ______________________________________
                                                   TERRY A. DOUGHTY
                                                   UNITED STATES DISTRICT JUDGE
